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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


DIMITRIOS GEORGAKAKIS,

        Plaintiff,                                                      4:18-CV-479
                                                             Case No. __________________
v.
                                                             JURY TRIAL DEMANDED
CHW GROUP INC d/b/a
CHOICE HOME WARRANTY,

        Defendant.


                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Dimitrios Georgakakis, through counsel, sues Defendant CHW Group Inc d/b/a

Choice Home Warranty for violations of the Telephone Consumer Protection Act, 47 U.S.C. §

227 et seq. (“TCPA”) and alleges:

                                           Introduction

        1.      Plaintiff purchased a home warranty from Defendant. When the agreement

expired, Defendant began calling Plaintiff’s cellular phone to asking him to sign another

contract. Plaintiff answered one such phone call, told Defendant’s agent that he did not wish to

renew his contract, and asked Defendant to stop calling him. But Defendant did not stop calling

Plaintiff. Plaintiff repeatedly asked Defendant to stop calling him, yet Defendant continued to

place automated phone calls to Plaintiff’s cell phone, as often as four times per day.

        2.      The TCPA was enacted to prevent companies like Defendant from invading

American citizens’ privacy and to prevent abusive “robocalls.”

        3.      The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).



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       4.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.’ 137 Cong. Rec. 30,821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F.3d 1242, 1256 (11th Cir. 2014).

       5.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one consumer complaint to the FCC.               There are thousands of

complaints to the FCC every month on both telemarketing and robocalls. The FCC received

more than 215,000 TCPA complaints in 2014.” Fact Sheet: Wheeler Proposal to Protect and

Empower Consumers Against Unwanted Robocalls, Texts to Wireless Phones, Federal

Communications Commission, (May 27, 2015).

       6.      As the Seventh Circuit Court of Appeals wrote: “No one can deny the legitimacy

of the state’s goal: Preventing the phone (at home or in one’s pocket) from frequently ringing

with unwanted calls. Every call uses some of the phone owner’s time and mental energy, both of

which are precious.” Patriotic Veterans v. Zoeller, 845 F.3d 303, 305-06 (7th Cir. 2017).

                                 Jurisdiction, Venue and Parties

       7.      This Court has original jurisdiction over Plaintiff’s claim arising under the TCPA

pursuant to 28 U.S.C. § 1331.

       8.      Personal jurisdiction exists over Defendant as it has the necessary minimum

contacts with the State of Texas, this suit arises out of Defendant’s specific conduct with Plaintiff

in Texas, and Plaintiff was injured in Texas.




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       9.      Venue is appropriate in the United States District Court for the Eastern District of

Texas, Sherman Division, pursuant to 28 U.S.C. § 1391, as the events giving rise to Plaintiff’s

claims occurred in Denton County, Texas.

       10.     Plaintiff is a natural person, and citizen of the State of Texas, residing in Denton

County, Texas.

       11.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       12.     Defendant CHW Group Inc. d/b/a Choice Home Warranty is a foreign corporation

organized in the State of New Jersey, with its principal place of business located at 1090 King

Georges Post Road, Building 10, Edison, New Jersey 08837.

                                      General Allegations

       13.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately 50 times

in order to telemarket its home warranty product.

       14.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C. § 227(a)(1) (hereinafter

“autodialer calls”).

       15.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (469) ***-2563, and was the called party and recipient of Defendant’s calls.

       16.     Defendant placed an exorbitant number of calls to Plaintiff’s cellular telephone

(469) ***-2563 in an attempt to convince Plaintiff to purchase its home warranty product.




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        17.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following telephone numbers: (888) 373-0962;

(732) 234-9854; (732) 210-6980; (732) 416-4744; (732) 204-6589; and (732) 338-8487.

        18.     On several occasions since Defendant’s campaign of phone calls began, Plaintiff

instructed Defendant’s agents to stop calling his cellular telephone.

        19.     In or around January 2018, Plaintiff answered a call from Defendant to the

aforementioned cellular telephone number. Plaintiff spoke to Defendant’s agent/representative

and informed that agent/representative that he was not interested in signing another contract, to

remove his number from Defendant’s call list, and that he did not want any more calls. But the

calls did not stop.

        20.     Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

telephone number was knowing and willful and made without Plaintiff’s “express consent.”

        21.     Despite Plaintiff clearly and unequivocally revoking any consent Defendant may

have believed it had to call Plaintiff on his cellular telephone, Defendant continued to place

automated calls to Plaintiff.

        22.     Again, on February 12, 2018, Plaintiff answered a call from Defendant to the

aforementioned cellular telephone number. Plaintiff spoke to Defendant’s agent/representative

and told her to stop calling him. Again, the calls did not stop. Defendant made roughly 15

automated phone calls to Plaintiff over the next two weeks.

        23.     Defendant called Plaintiff four times on March 1, 2018 alone, and left four

voicemails.

        24.     Defendant left pre-recorded voicemails on Plaintiff’s phone that stated, for

example: ““Hi, my name is James from Choice Home Warranty. I’m calling today to let you




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know that your home warranty is expired. We are currently running a promotion for all expired

contracts. Call 1-888-373-0962 to reactivate today and get two free months of coverage. This

promotion won’t last long. So please call us at 1-888-373-0962. Looking forward to hearing back

from you.”

        25.     Again, in March 2018, Plaintiff answered a call from Defendant to the

aforementioned cellular telephone number. Plaintiff spoke to Defendant’s agent/representative

and again asked that Defendant stop calling him. Still, the calls did not stop.

        26.     Plaintiff’s numerous conversations with Defendant’s agents/representatives over

the telephone, wherein he demanded cessation of calls, were in vain as Defendant continued to

bombard him with automated calls unabated.

        27.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can be

reasonably expected to harass.

        28.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to call individuals just as it did to Plaintiff’s cellular telephone

in this case.

        29.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to call individuals just as it did to Plaintiff’s cellular telephone

in this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

        30.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

        31.     Defendant has other federal lawsuits pending against it alleging similar violations

as stated in this Complaint.




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       32.     Defendant has numerous complaints across the country against it asserting that its

automatic telephone dialing system continues to call despite requests to stop.

       33.     Defendant has had numerous complaints from consumers across the country

asking to not be called; however, Defendant continues to call the consumers.

       34.     Defendant’s corporate policy provided no means for Plaintiff to have his number

removed from Defendant’s call list.

       35.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       36.     Not a single call placed by Defendant to Plaintiff was placed for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       37.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

       38.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his

right of seclusion.

       39.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of occupation of his cellular telephone line and

cellular telephone by unwelcome calls, making the telephone unavailable for legitimate callers or

outgoing calls while the telephone was ringing from Defendant’s calls.

       40.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of unnecessary expenditure of his time. For calls he

answered, the time he spent on the call was unnecessary as he repeatedly asked for the calls to

stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also impaired




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the usefulness of these features of Plaintiff’s cellular telephone, which are designed to inform the

user of important missed communications.

       41.       Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were

answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

       42.       Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent resulted in the injury of unnecessary expenditure of Plaintiff’s cellular telephone’s

battery power.

       43.       Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent where a voice message was left, occupied space in Plaintiff’s telephone or network.

       44.       Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular telephone and

his cellular telephone services.

       45.       As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress and aggravation from

having to deal with Defendant’s numerous unwanted phone calls while trying to conduct

business of his own.




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